   Case 9:12-cv-80364-KAM Document 78 Entered on FLSD Docket 10/09/2012 Page 1 of 6




    IN TH E UNITED STATES DISTRICT CO URT FOR TH E SO UTH ERN
         D ISTR IC T O F FLO R ID A W EST PA L M BEA C H D IV ISIO N

                                 CASE N O .12-80364-CIV -M ARR Am R ANNO N
                                                                 FlLEDL           W
 JOI'1N KORM AN                                 )
PrivateAttonzey General,                        )                    ggy gb 24j2
                               Petitioner,      )
                   v.                           )
                                                ) CIVR   m G HTS 1
                                                                     sgjëjyyjbtjy)yTa
                                                                             ..    .    . .   t
AURORA LOAN SERVICES LLC;            )          FORGERY
OFFICE OF CEO,AND PRES O F AUROM ;)              USURY
AUROM BANK FSB;                      )      ClVIL CONSPTRACY
M ERSCORP HOLDINGS,INC;               )      STELLIONATION
M ORTGAGE ELECTRONIC                  )      INTW NSIC FM UD
REGISTRATION SYSTEM S INC;           )    ATTEMPTED LARCENY
LEHM AN XS TRUST 2006-119            ) FRAUDULENT CONVERSION
LASALLE BANK N.A.asTRUSTEE;          )   CONSTRUCTIVE FM UD
U.S.BANCORP assuccessorTRUSTEE;      )    VIOLATION OF FDCPA
ASSOCIATES LAND TITLE INC;           )     U OLATION OF TCPA
THEODORE SCHULTZ,Individual,'        )     U OLATION OF FCRA
LAUM M CCANN,lndividual;             )   VIOLATION OF FDUTPA
CYNTHIA W ALLACE,lndividual;          )        m tlaFM UD
JOANN REIN lndividual;                )        wlltE FRAUD
LAW OFFICE OF DAVID J.STERN P.A.; )             UTTERING
DAVID JAM ES STERN Esquire;           )           R.I.C.O.
K AROL S.PIERCE,Esquire;              ) FRAUDULENT G DUCEMENT
CASSANDM RACINE-RIGAUD,Esquire; )              FALSE CLAIM
M ISTY BARNES,Esquire;                )     MORTGAGE FRAUD
DARLINE DIETZ,Notary;                 ) PROFESSIONAL NEGIGENCE
JOHN DOE 1- 100;                      )
JANE DOE 1- 100;                      )        DEM AND FOR JURY
                                      )               TRIAL
                          Defendants. )          Fed.K CiV.P.38(b)
                                                /


      IN O PPO SIT IO N T O K AR O L S.PIER C E'S M O T IO N T O D ISM ISS



KORM AN v AUROM a 2.               Page 1 of6
   Case 9:12-cv-80364-KAM Document 78 Entered on FLSD Docket 10/09/2012 Page 2 of 6




             JOI4N KORM AN,(herein aftertçpetitioner'')submitsthispleading in
opposition to D efendant'sM otion to D ism issforfailureto state a cause ofaction   .




Petitionercontendsthatthe Complaintdoes in factallegesuftk ientfactsto statea cause

ofaction againstDefendantKAROL S.PIERCE Esquire K AR O L S.PIERCE Esquire,
                                                          .




ata1ltim e relevant,is an em ployee ofthe Law O m ces ofD avid J Stern P .A .The Law
                                                                   .




O ftk es ofD avid J.Stem P .A .is a Third-party-D ebt-collector, falsely claim ed to

representthe Creditor.See,Lawyerresponsible forfalse debtcollection claim , Federal

FairD ebtCollection PracticesA ct,15 U .S.C S.j 1692etseq,andHeintzv.Jenkins,
                                              .




514U.S.291;115S.Ct.1489,131L.Ed.zd 395(1995).
                                            ,Duringthecom seofthis
instantproceedingtheCourtw illfind AURORA LOAN SERVICES LLC isnotthe

Creditorwith the rightto foreclose,in which KAROL S.PIERCE Esquire falsely

represented to JOHN KORM AN ,and the Courtw asm isinformed,in orderforKAROL

S.PIERCE Esquireto facilitate an actoflarceny againstJOHN K ORM AN , by gross

negligence,and an absence ofdue care.

            K AROL S.PIERCE,Esqukew asnegligentin the execution ofitsduty as

an Officerofthe Court,caused harm to thisH om e-ownerin term softhe tim e expended

defending Respondent'shom e againstan illegalassaultand the money lostin doing so,

notto m ention m entaldistress,allofwhich w asavoidablehad KAROL S PIER CE .




exercised a little due diligence and reasonable care,which isobviously absent   .




K ORM AN vAURORA % a1.                 Page 2 of6
   Case 9:12-cv-80364-KAM Document 78 Entered on FLSD Docket 10/09/2012 Page 3 of 6




             IQAROL S.PIERCE,Esquireparticipated in a schem e to illegally transfer

JO I1N K OR M AN 'S property to a C om oration K ARO L S PW R CE Esquire served,in
                                                        .




utterdisregard fortherule oflaw ,done in the capacity ofa legalprofessional,asa

m emberofthatlegalprofession.

             FederalRuleofCivilProcedtlre8(a)statesthatacomplaintshouldcontain
aashortandplainstatementofthecli- showing thatthepleaderisentitled to relies ''
Fed.R.Civ.P.8(a)(2),andthatalelach allegation mustbesimple,concise,and direct.''
Fed.R.Civ.P.8(d)(1).The SupremeCourthasexplainedthatacomplaintneedonly
Lngivethedefendantfairnotkep.fwAlztheplaintt
                                           v sdaim i:and thegroundsupon
which itrests.''Swierkiewiczv.Sorem aN.A.,534U.S.506,512 (2002)'
                                                               ,accord
Atchison.Topeka & Santa FeRv.v.Buell,480 U.S.557,568n.15 (1987)(under
FederalRule 8,claim anthasLGno dllt.ytoxefoutalIoftherelevantfactsin his

complaint'b.Etxî/ec#ic-ftlcf.
                            çarenotnecessary in a Complaint;instead,thestatement
need only kivethedefendantfairnoticeofwhatthe...claim isand thegroundsupon
which itre,
          &fa
            &.''EposTech-,636 F.Supp.zd 57,63(D.D.C.2009)(quoting Bell
Aflanticv.Twomhtv,550 U.S.544,555 (2007)).Thus,theFederalRulesembody
Etnoticepleading''and require only a concise statementofthe claim , ratherthan

evidentiary facts.Accordingly,Defendant'sM otion w ould be considered properly filed

only w here aPlaintiffscom plaintisunintelligible, notw here a com plaintsuffers for

tlack ofdetail.'EposTech-,636 F.Supp.24 at63 (citationsomitted).Thesimplified


KORM AN v AUROM a i.                  Page 3 of6
   Case 9:12-cv-80364-KAM Document 78 Entered on FLSD Docket 10/09/2012 Page 4 of 6




noticepleadingstandardrelieson liberaldiscoveryrulesand summ aryjudgmentm otions
to define disputed factsand to dispose ofunm eritoriousclaim s.See Sw ierkiewicz,534

U.S.at512.lndeed,courtshave found thatifthe inform ation soughtby them otion is

obtainable through discovery,them otion should bedenied.See,e.g.,Tow ers Tenant

Asstiiv.TowersLtd.P'ship,563 F.Supp.566,569 (D.D.C.1983)(denyingmotion
fora m ore definite statem entbecause detailssuch asGndates,ff- el,nam es andplaces''

areGcthecentralobjectJ-fdiNc/very,and need notbepleadeœb.Here,Petitioner's
Com plaintisnotunintelligibleorconfusing and doesnotviolateFederalRule ofCivil

Procedure8(a)'srequirementofG*ashortandplainsutementp.fz/leclaim showing that
thepleaderisendtled to relief''TheComplaintclearlyhasamorethan suftkient
statem entofthe claim and m orethan m eetstherequirem entthatitbe ûçshortand plain.''

Forexample,the Complaintspecifically identifiesthe actionsofDefendantK AROL S.

PIERCE,Esquire and how those actionsarewrongful,
                                               'furtherm ore,

            Petitionerisinformed and believe,allegethereon thathereinaftereach

D efendantisan Agent,Servant,representative,or/and em ployee oftheirco-Defendants,

and in doing the thingshereinafteralleged isacting in the capacity ofauthority as

Agent,Servant,representative,or/and em ployee,w ith theperm ission and consentof

theirco-D efendants.

            Petitionerisinformed and believes,allege thereon thathereinaftereach

D efendantassisted,aided and abetted,adopted,ratified,approved,orcondoned the


K ORM AN vAUROM a a1.                 Page 4 of6
         Case 9:12-cv-80364-KAM Document 78 Entered on FLSD Docket 10/09/2012 Page 5 of 6




      actionsofeach otherD efendantaand each Defendant,Corporate orotherw ise,isacting

      asthe alterego ofthe other in the acts alleged herein,
                                                           'as such,

                  KAROL S.PIERCE,Esquire isidentified in each COUN T w herein the

      LAW OFFICE OF DA VID J.STERN ,P.A .ism entioned,asan Agent,asa co-

      conspiratorin aCivilFraud,foraiding and abetting.



W H ER EFO R E ,based on the foregoing,D efendantK A R O L S.PIER CE 'S M O TION TO

     D ISW SS TllE VERIFIED COM PLAIN T should bedenied'
                                                       ,


     Respectfully subm itted;


                                                    By:
                                                          J                 Petitioner,
                                                                 934 SW 21slW
                                                                                ay,
                                                                 Boca R aton 33486
                                                                   FloridaU .S.A .
                                                                   (561)393-0773
                                                              kormanzool@ comcast.net




     KORM AN VAURORAG K                     Page 5 of6
   Case 9:12-cv-80364-KAM Document 78 Entered on FLSD Docket 10/09/2012 Page 6 of 6




                          CERTIFICATE O F SER VIC E

TH E UN DERSIG NED H ER EBY CER TIFIES thata tnleand correctcopy ofhereof
hasbeen forwarded,to the follow ing partiesvia e-m ailto the follow ing recipients;


H ARRIS K .SOLOM ON
hv is.solomon@briV leymorgan.com
STA CY M .SCH W A R TZ
Stacy.schwrtz@briA leymorgan.com
SpencerTew /st@ tewlaw.com
StevenEllison/sellison@broadandcassel.com
LeonR.M argules/marguleslaw@yahoo.com
on this5thday ofOctober,2012  .




                                                  Jolm K orm an
                                                 934 SW 21stW ay
                                          B oca Raton,Florida 33486
                                                 (561)393-0773
                                          korm anzoo     ..
                                                                    .net?,


                                       Y:'
                                         ,                      .
                                          $
                                                 J hn K onnan




KORM AN vAURORA a 4.                Page 6 of6
